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                                                     No. 16-547C
                                               (Filed; October 7, 2016)
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 PRENTISS B. DAVIS,
                                                                                      U.S. COURT OF
                                                                                     FEDERAL CLAIMS
                                         Plaintffi



THE TINITED STATES,

                                         Defendant.
 ,t(   * *,* *   ri( J.   *!   * * * * * * * * r t ir r. *:*


                                                           ORDER

         Plaintiff, appearingpro se, filed a complaint asserting claims against the
Boeing Company ("Boeing") and appealing several Washington stdte court
decisions. Pending is defendant's motion to dismiss onj urisdictional grounds.
It is fully briefed, and oral argument is deemed unnecessary. For the reasons
set out below, defendant's motion is granted.

        Jurisdiction is a threshold m atter. see steel Co. v. Citizens
                                                                        for a Better
Env't, 523 U.S. 83, 94-95 (1998). Although plaintiff is appearing pro se, and
pro se litiganrs are afforded latitude, that cannot excusej urisdictional failings.
See Kelly v. U.S. Sec'y of Dep't of Labor, gl2 F.2d 1378, l3g0 (Fed. CIr.
 1987) ("a court may not similarly take a liberal view of that jurisdictionar
requirement and set a different rule for pro se litigants only"). It is well-settled
that the united States is the only proper defendant in the united States court
of'Federal Claims. Stephensonv. {Jnited States,5g Fed.Cl. lg6, 190 (2003)
("[T]he only proper def'endant for any matter before this court is the United
States, not its officers, nor any other individual."). As a result, this court
                                                                               does
not have jurisdiction overplaintiff s claims against Boeing.r



' In a late filing submission, plaintiff attempts to more directly tie the united
                                                                   (continued...)


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         Plaintiffalso asks this court to exercise its "discretionary reviewn' over
 several state court decisions. Only the Supreme Court may review state court
judgments, however. 28 U.S.C. S 1257 (2012). Accordingly, this court also
 lacks jurisdiction to review these claims.

       This court lacks jurisdiction over any claims raised by plaintiffs
complaint. Defendant's motion to dismiss is granted. The Clerk of Court is
directed to dismiss the complaint without prejudice and enter judgment
accordingly. No costs.




t(...continued)
States to his claims. Plaintiff s claims are still fundamentally tort claims, and
the Tucker Act, 28 U.S.C. $ la9l(a)(l), expressly excludes tort claims from
this court's jurisdiction. Additionally, none of the statutes or Constitutional
provisions plaintiffrelies on can be heard in this court.
